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Exhibit A (Redacted)
                                                                                                                  Case 4:20-cv-05640-YGR    Document 1125-2      Filed 01/21/25   Page 2 of 3


                                                                                                                                                                                                                                                                                                            Special
            Production Bates                                                                                                                                                                                                                                                                                Master
   Special      of Parent              Production                                                                                                                                                                                                                     Attorneys, Legal Staff, and        Determination
   Master      Document       Doc      Beginning    Production                 Document    Document                                                                          Redact or                                                            Additional           Employees Acting at the            (Priv - Yes;   Optional Special
 Assignment   (Folder Title) Number      Bates      End Bates    Custodians      Date        Time     From   To          Cc       Bcc      Subject       Original Name       Withhold Privilege Type          Privilege Description           Privilege Context          Direction of Counsel              Priv - No)     Master Notes
                                                                                                                                                                                                         Document reflecting legal advice                          Ling Lew (Apple in-house
                                                                                                                                                      Private channel #                                  from counsel regarding foreign                            counsel); Jenny Liu (Apple in-
             PRIV-APL-                 PRIV-APL-   PRIV-APL-                                                                                                 f - 2023-10-24                              regulatory issues in the                                  house counsel); D Tina Wang
Gutierrez   EG_00016018      202      EG_00016018 EG_00016026 Bavaro, Sam 2023-10-24 17:27:40                                                         (UTC).pdf             Withhold    AttorneyClient   Netherlands for dating apps.                              (Apple in-house counsel)                   No
                                                                                                                                                                                                         Document reflecting work
                                                                                                                                                                                                         product prepared by counsel                               Ling Lew (Apple in-house
                                                                                                                                                                                                         regarding foreign regulatory                              counsel); Brendan McNamara
             PRIV-APL-                 PRIV-APL-   PRIV-APL-                                                                                          Functional Spec                                    issues in the European Union,                             (Apple in-house counsel); Charles
Gutierrez   EG_00016915      241      EG_00016915 EG_00016925      Cote, Bri   2023-09-01 16:48:47                                                    - DRAFT.pdf           Withhold    AttorneyClient   including DMA                                             Paillard (Apple in-house counsel)          No


                                                                                                                                                                                                                                           The entire slack channel
                                                                                                                                                                                                                                           was set up to discuss
                                                                                                                                                                                                                                           and receive comments                urtis Box (Apple in-
                                                                                                                                                                                                                                           from                     house counsel); Amy Dobrzynski
                                                                                                                                                      Private channel                                    Document reflecting legal advice          on the           (Apple in-house counsel); John
                                                                                                                                                      #appstore-dma-                                     from counsel regarding foreign    entitlements language    Gould (Apple in-house counsel);
             PRIV-APL-                 PRIV-APL-   PRIV-APL-      De Wilde,                                                                           comms - 2024-01-24                                 regulatory issues in the European and disclosures for EU Ling Lew (Apple in-house
Gutierrez   EG_00017738      276      EG_00017738 EG_00017755      Geoff       2024-01-24 01:34:50                                                    (UTC).pdf             Withhold    AttorneyClient   Union, including DMA              storefront               counsel)                                  No


                                                                                                                                                                                                                                           The entire slack channel
                                                                                                                                                                                                                                           was set up to discuss
                                                                                                                                                                                                                                           and receive comments                urtis Box (Apple in-
                                                                                                                                                                                                                                           from                     house counsel); Amy Dobrzynski
                                                                                                                                                      Using alternative                                  Document reflecting legal advice          on the           (Apple in-house counsel); John
                                                                                                                                                      browser engines in the                             from counsel regarding foreign    entitlements language    Gould (Apple in-house counsel);
                                       PRIV-APL-   PRIV-APL-      De Wilde,                                                                           European Union                                     regulatory issues in the European and disclosures for EU Ling Lew (Apple in-house
Gutierrez                    277      EG_00017756 EG_00017762      Geoff       2024-01-23 22:46:20                                                    support page.pages     Withhold   AttorneyClient   Union, including DMA              storefront               counsel)                                  No


                                                                                                                                                                                                                                           The entire slack channel
                                                                                                                                                                                                                                           was set up to discuss
                                                                                                                                                                                                                                           and receive comments                urtis Box (Apple in-
                                                                                                                                                                                                                                           from                     house counsel); Amy Dobrzynski
                                                                                                                                                                                                         Document reflecting legal advice          on the           (Apple in-house counsel); John
                                                                                                                                                      Alternative payment                                from counsel regarding foreign    entitlements language    Gould (Apple in-house counsel);
                                       PRIV-APL-   PRIV-APL-      De Wilde,                                                                           processing support                                 regulatory issues in the European and disclosures for EU Ling Lew (Apple in-house
Gutierrez                    278      EG_00017775 EG_00017790      Geoff       2024-01-23 22:31:18                                                    page.pages            Withhold    AttorneyClient   Union, including DMA              storefront               counsel)                                  No


                                                                                                                                                                                                                                           The entire slack channel
                                                                                                                                                                                                                                           was set up to discuss
                                                                                                                                                                                                                                           and receive comments                urtis Box (Apple in-
                                                                                                                                                                                                                                           from                     house counsel); Amy Dobrzynski
                                                                                                                                                                                                         Document reflecting legal advice          on the           (Apple in-house counsel); John
                                                                                                                                                                                                         from counsel regarding foreign    entitlements language    Gould (Apple in-house counsel);
                                       PRIV-APL-   PRIV-APL-      De Wilde,                                                                           Programs - What's                                  regulatory issues in the European and disclosures for EU Ling Lew (Apple in-house
Gutierrez                    279      EG_00017791 EG_00017797      Geoff       2024-01-24 01:56:14                                                    Included.pages        Withhold    AttorneyClient   Union, including DMA              storefront               counsel)                                  No


                                                                Cue, Eddy;
                                                                Cook, Tim;
                                                               Schiller, Phil;                                                                                                                          Document providing legal advice
                                                              Maestri, Luca;                                                                                                                            from counsel regarding injunction Attachment to
                                                                Goldberg,                                                                             Roman Declaration                                 compliance requirements for user correspondence from       Kate Adams (Apple in-house
                                                                  Marni;                                                                              ISO Opposition to                                 design and interface prepared in Jennifer Brown            counsel); Jennifer Brown (Apple in-
             PRIV-APL-                 PRIV-APL-   PRIV-APL- Roman, Alex;                                                                             MTE_Privileged &                  AttorneyClient; anticipation or furtherance of    discussing pending       house counsel); Heather Grenier
Segal       EG_00041089      1551     EG_00041127 EG_00041134 Joswiak, Greg 2024-04-11 17:46:00                                                       Confidential.docx     Withhold    WorkProduct litigation                            litigation.              (Apple in-house counsel)                   No




                                                                                                                                                                                                                                                                   Kate Adams (Apple in-house
                                                                                                                                                                                                                                                                   counsel); Kyle Andeer (Apple in-
                                                                                                                                                                                                                                                                   house counsel); Sean Cameron
                                                                                                                                                                                                                                                                   (Apple in-house counsel); Heba
                                                                                                                                                                                                         Email with redacted text providing                        Hamouda (Apple in-house
                                                                                                                                                                                                         information for the purpose of                            counsel); Brendan McNamara
                                                                                                                                        BoD:                                                             obtaining legal advice from                               (Apple in-house counsel); BJ
                                                              Schiller, Phil;                                                           Platform      20231107-1156 BoD:                                 counsel regarding foreign                                 Watrous (Apple in-house
             PRIV-APL-                 PRIV-APL-   PRIV-APL- Fischer, Matt;                                                             Legal         Platform Legal                                     regulatory issues in the European                         counsel); Sam Whittington (Apple
Walsh       EG_00098668      2706     EG_00098668 EG_00098668 Oliver, Carson 2023-11-07 19:55:47                                        Update        Update.eml         Redact         AttorneyClient   Union, including DMA.                                     in-house counsel)                          No




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                                                                                                                 Case 4:20-cv-05640-YGR    Document 1125-2      Filed 01/21/25   Page 3 of 3


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           Production Bates                                                                                                                                                                                                                                                                               Master
  Special      of Parent              Production                                                                                                                                                                                                                     Attorneys, Legal Staff, and       Determination
  Master      Document       Doc      Beginning     Production                 Document   Document                                                                         Redact or                                                             Additional           Employees Acting at the           (Priv - Yes;          Optional Special
Assignment   (Folder Title) Number      Bates       End Bates    Custodians      Date       Time     From   To          Cc       Bcc      Subject       Original Name      Withhold Privilege Type           Privilege Description           Privilege Context          Direction of Counsel             Priv - No)            Master Notes




                                                                                                                                                                                                                                                                   Kate Adams (Apple in-house
                                                               Cue, Eddy;                                                                                                                                                                                          counsel); Kyle Andeer (Apple in-
                                                               Federighi,                                                                                                                               Email with redacted text attaching Email from counsel      house counsel); Sean Cameron
                                                                 Craig;                                                                                                                                 Work Product from counsel          attaching draft work    (Apple in-house counsel); Heather
                                                             Fischer, Matt;                                                                                                                             regarding foreign regulatory       product re DMA          Grenier (Apple in-house counsel); No as to the first
            PRIV-APL-                 PRIV-APL-   PRIV-APL-   Schiller, Phil;                                                          DMA: Part 20231206-1301 DMA:                                     issues in the European Union,      compliance reflecting   Brendan McNamara (Apple in-       two redactions; yes
Walsh      EG_00098672      2708     EG_00098672 EG_00098672 Joswiak, Greg 2023-12-06 21:01:23                                         2         Part 2.eml         Redact             AttorneyClient   including DMA.                     legal advice.           house counsel)                      as to the third


                                                                                                                                                     App-Store-Review-                                  Document reflecting legal advice
                                                             Schiller, Phil;                                                                         Guidelines-20240125-                               from counsel regarding injunction
            PRIV-APL-                 PRIV-APL-   PRIV-APL-   Kosmynka,                                                                              English-US [2-29-                                  compliance requirements for user                           Sean Cameron (Apple in-house
Walsh      EG_00099481      2793     EG_00099486 EG_00099520   Trystan                                                                               24].pages            Withhold     AttorneyClient   design and interface.                                      counsel)                                   no


                                                                                                                                                     App-Store-Review-                                  Document reflecting legal advice
                                                             Schiller, Phil;                                                                         Guidelines-20240125-                               prepared by counsel regarding
            PRIV-APL-                 PRIV-APL-   PRIV-APL-   Kosmynka,                                                                              English-US [2-29-                                  injunction compliance press and                            Sean Cameron (Apple in-house
Walsh      EG_00099526      2797     EG_00099532 EG_00099566   Trystan                                                                               24].pages            Withhold     AttorneyClient   communications legal strategy.                             counsel)                                   no


                                                                                                                                                                                                        Document reflecting legal advice
                                                             Schiller, Phil;                                                                         App-Store-Review-                                  from counsel regarding foreign
            PRIV-APL-                 PRIV-APL-   PRIV-APL-   Kosmynka,                                                                              Guidelines-20240125-                               regulatory issues in the European                          Sean Cameron (Apple in-house
Walsh      EG_00099600      2805     EG_00099603 EG_00099638   Trystan                                                                               English-US .pages    Withhold     AttorneyClient   Union, including DMA.                                      counsel)                                   no




                                                                 Oliver,
                                                                Carson;                                                                                                                                 Email chain related to legal
                                                             Fischer, Matt;                                                            Re: Legal     20211129-0940 Re:                                  advice with counsel regarding
            PRIV-APL-                 PRIV-APL-   PRIV-APL-  Schiller, Phil;                                                           App Store     Legal App Store                                    injunction compliance analysis of                          Carson Oliver (non-lawyer)
Walsh      EG_00100145      2854     EG_00100145 EG_00100146 Roman, Alex 2021-11-29 17:37:57                                           call          call.eml              Withhold    AttorneyClient   commission rate.                                           conveying advice from legal team           no           predominantly business
                                                                                                                                                                                                       Presentation reflecting legal
                                                                 Oliver,                                                                                                                               advice from counsel regarding
                                                                Carson;                                                                                                                                injunction compliance analysis of
                                                             Fischer, Matt;                                                                          App Store Business                                commission rate prepared in
            PRIV-APL-                 PRIV-APL-   PRIV-APL-  Schiller, Phil;                                                                         Model Discussion Nov              AttorneyClient; anticipation or furtherance of                              Sean Cameron (Apple in-house
Walsh      EG_00100145      2855     EG_00100147 EG_00100166 Roman, Alex                                                                             2021 Condensed.key Withhold       Work Product litigation.                                                    counsel)                                   no




                                                                 Oliver,                                                                                                                                Email chain related to Work
                                                                Carson;                                                                                                                                 Product prepared at the direction
                                                             Fischer, Matt;                                                            Re: Legal     20211129-1137 Re:                                  of counsel regarding injunction
            PRIV-APL-                 PRIV-APL-   PRIV-APL-  Schiller, Phil;                                                           App Store     Legal App Store                                    compliance and U.S. Link                                   Sean Cameron (Apple in-house
Walsh      EG_00100329      2870     EG_00100329 EG_00100330 Roman, Alex 2021-11-29 19:35:27                                           call          call.eml              Withhold    AttorneyClient   Entitlement program eligibility.                           counsel)                                   no           predominantly business

                                                                                                                                                                                                        Presentation reflecting
                                                                                                                                                                                                        information for the purpose of
                                                                                                                                                                                                        rendering legal advice prepared
                                                                                                                                                                                                        at the direction of counsel
                                                                 Oliver,                                                                                                                                regarding injunction compliance
                                                                Carson;                                                                                                                                 and U.S. Link Entitlement
                                                             Fischer, Matt;                                                                          App Store Business                                 program eligibility prepared in
            PRIV-APL-                 PRIV-APL-   PRIV-APL-  Schiller, Phil;                                                                         Model Discussion V2                                anticipation or furtherance of                             Sean Cameron (Apple in-house
Walsh      EG_00100329      2871     EG_00100331 EG_00100353 Roman, Alex                                                                             Nov 2021.key          Withhold    Work Product     litigation.                                                counsel)                                   no           predominantly business




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